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  6                         UNITED STATES DISTRICT COURT
  7                       CENTRAL DISTRICT OF CALIFORNIA
  8
      ~ UNITED STATES OF AMERICA,
  9

 10                                  Plaintiff,      ~ CASE NO.
 11                        v.                                         2:20-CR-564-FMO
      JOSHUA KANE SOTO,
 12                                                     ORDER OF DETENTION
 13

 14                                  Defendant.
 15

 16                                                     I.

 17       A.()       On motion of the Government in a case allegedly involving:
 18            1.()     a crime of violence.
 19           2.()      an offense with maximum sentence of life imprisonment or death.
 20           3.()      a narcotics or controlled substance offense with maximum sentence
 21                     often or more years .
 22           4.()      any felony -where the defendant has been convicted oftwo or more
 23                     prior offenses described above.
 24           5.()      any felony that is not otherwise a crime of violence that involves a
 25                     minor victim, or possession or use of a firearm or destructive device
 26                     or any other dangerous weapon, or a failure to register under 18
 27                    U.S.0 § 2250.
 28       B.(~       On motion by the Government /( )on Court's own motion, in a case

                                ORDER OF DETENTION AFCER HEARING (18 U.S.C. §3142(1))

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  1                     allegedly involving:
  2          (~         On the further allegation by the Government of:
  3            1. (~       a serious risk that the defendant will flee.
  4           2.()         a serious risk that the defendant will:
  5                  a.()obstruct or attempt to obstruct justice.
  6                  b.()threaten, injure, or intimidate a prospective witness or juror or
  7                        attempt to do so.
  8       C. The Government()is/(~ is not entitled to a rebuttable presumption that no
  9           condition or combination ofconditions will reasonably assure the defendant's
 10           appearance as required and the safety of any person or the community.
 11

 12                                                      II.

 13       A.(✓~         The Court finds that no condition or combination of conditions will
 14                     reasonably assure:
 15            1. (~       the appearance ofthe defendant as required.
 16              () and/or
 17           2. (~        the safety of any person or the community.
 18       B.()          The Court finds that the defendant has not rebutted by sufficient
 19                     evidence to the contrary the presumption provided by statute.
 20

 21                                                     III.

 22       The Court has considered:
 23       A. the nature and circumstances ofthe offenses) charged, including whether the
 24           offense is a crime of violence, a Federal crime ofterrorism, or involves a minor
 25           victim or a controlled substance, firearm, explosive, or destructive device;
 26       B. the weight of evidence against the defendant;
 27       C. the history and characteristics ofthe defendant; and
 28       D. the nature and seriousness ofthe danger to any person or to the community.

                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1'                                                      IV.
  2 '~       The Court also has considered all the evidence adduced at the hearing and the
  3          arguments        and/or statements         of counsel, and            the     Pretrial   Services
  4          Report/recommendation.
  5

  6                                                        1~

  7          The Court bases the foregoing findings) on the following:
  8          A.(~          As to flight risk:
  9           All the reasons stated in the November 22, 2021 Pretrial Services Report, which include
              that he is currently serving a custodial sentence.
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 16          B.(~          As to danger:
 17           All the reasons stated in the November 22, 2021 Pretrial Services Report, which include
              that he is currently serving a custodial sentence.
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 24                                                        VI.
 25          A.()          The Court finds that a serious risk exists that the defendant will:
 26                     1.( )obstruct or attempt to obstruct justice.
 27                     2.( )attempt to/( )threaten, injure or intimidate a witness or juror.
 28

                                    ORDER OF DETENTION AFTER HEARING(18 U.S.C. §3142(1))

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          B. The Court bases the foregoing findings) on the following:




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  9                                                  VII.
 10

 11       A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
 12       B. IT IS FURTHER ORDERED that the defendant be committed to the custody
 13            ofthe Attorney General for confinement in a corrections facility separate, to
 14            the extent practicable, from persons awaiting or serving sentences or being
 15            held in custody pending appeal.
 16       C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
 17            opportunity for private consultation with counsel.
 18       D. IT IS FURTHER ORDERED that, on order of a Court of the United States
 19           or on request of any attorney for the Government, the person in charge of the
 20           corrections facility in which the defendant is confined deliver the defendant
 21           to a United States marshal for the purpose of an appearance in connection
 22            with a court proceeding.
 23

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 26 ~ DATED: November 22, 2021
                                                   UNITED STATES MAGISTRATE JUDGE
 27

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                              ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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